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                     IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,
                                                Case No.: CR05-1849 JH
                             Plaintiff,

       vs.

DANA JARVIS, et al.,

                             Defendants.

                   ORDER PERMITTING DEFENDANT REID
                TO EXTEND FLIGHT TIME UNTIL JULY 20, 2006

       THIS MATTER, having come before the Court on the motion of Defendant Reid

to permit him to continue his flight until July 20, 2006, and the Court otherwise being

fully advised in the premises, finds that the motion is well taken and should be granted.

       IT IS HEREBY ORDERED permitting Defendant Reid to continue his flight for

Constellation Aircraft Management, LLC until July 20, 2006.

       IT IS FURTHER ORDERED that in all other aspects, the terms and conditions

of Defendant Reid s release shall remain the same.

                            DATED this            day of July, 2006.



                                           Honorable Judith C. Herrera
                                           Judge of the U.S. District Court
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